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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
             Plaintiff
                 v.
                                       Criminal No. 12-200 (ADC)
 Pedro Juan Ramirez-Medina (8),

             Defendant


           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                        Re: Amendment 821

     The below report and recommendation relates to an initial
determination as to the defendant’s eligibility for a sentencing
reduction promulgated by the United States Sentencing Commission
under Part A and Part B, Subpart 1 of Amendment 821 to Policy
Statement § 1B1.10(d).

     After careful review of the defendant’s presentence report,
charging document(s), plea agreement, plea supplement, judgment,
and statement of reasons, I recommend that:

  ☒ The defendant is not eligible for a sentence reduction based
    on the following factor(s):

       ☐ A. The guidelines range that applied in the defendant’s
          case was not determined by U.S.S.G. § 4A1.1(d) or
          defendant’s status as a zero-point offender under
          Chapter 4, Part A.

       ☒ B. The defendant does not meet all of conditions
         specified by § 4C1.1. Specifically, one or more of the
         following criteria applies:

             ☐ 1) the defendant has criminal history points from
               Chapter Four, Part A;

             ☐ 2) the defendant received an             adjustment     under
               U.S.S.G. § 3A1.4 (Terrorism);

             ☐ 3) the defendant used violence or credible threats
               of violence in connection with the offense;
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         ☒ 4) the offense resulted in death or serious bodily
           injury;

         ☐ 5) the offense of conviction was a sex offense;

         ☐ 6) the defendant personally            caused     substantial
           financial hardship;

         ☐ 7) the defendant possessed, received, purchased,
           transported,   transferred,   sold,  or   otherwise
           disposed of a firearm or other dangerous weapon (or
           induced another participant to do so) in connection
           with the offense;

         ☐ 8) the offense of conviction was covered by
           U.S.S.G. § 2H1.1 (Offenses Involving Individual
           Rights); or

         ☐ 9) the defendant received an adjustment under §
           3A1.1 (Hate Crime Motivation or Vulnerable Victim)
           or § 3A1.5 (Serious Human Rights Offense).

         ☐ 10) the defendant received an adjustment under §
           3B1.1 (Aggravating Role) and/or was engaged in a
           continuing criminal enterprise, as defined in 21
           U.S.C. § 848.


   ☐ C. The application of Amendment 821 Part A and Part B,
     subpart 1 does not have the effect of lowering the
     defendant’s    applicable    guideline   range.    See
     § 1B1.10(a)(2)(B).

   ☐ D. The defendant was originally sentenced to a term of
     imprisonment that is less than or equal to the minimum
     of the guideline range as amended by Amendment 821 Part
     A and Part B, subpart 1, and no exception for substantial
     assistance applies. See § 1B1.10(b)(2)(A).

   ☐ E. The defendant was sentenced to a statutorily mandated
     minimum imprisonment term. The defendant did not comply
     with the safety valve provisions and did not receive a
     reduction of his or her imprisonment term based on a
     departure for substantial assistance or a Rule 35 motion
     subsequent to the original sentence. See § 1B1.10(c).
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     Since a determination of ineligibility has been made, the
matter is formally submitted to the presiding District Court Judge.
Defense counsel, whether retained, appointed, or pro bono, has
fourteen days to object to the initial assessment of ineligibility.
After the fourteen day period, and in the absence of an objection
by defense counsel, the presiding District Court Judge may adopt
the recommendation of the Magistrate Judge and may rule on the
motion for reduction of sentence.

  ☐ The defendant may be eligible for a sentence reduction and
    therefore the matter is referred to a United States District
    Judge.

     The presiding judicial officer shall wait for the parties’
stipulation of a sentence reduction within fourteen days. If no
stipulation is reached within this period, the presiding judicial
officer shall wait for the United States Probation Office, defense
counsel, and the Government’s memoranda, which shall be filed
within another fourteen days.


Reasons:




IT IS SO RECOMMENDED.

In San Juan, Puerto Rico, this 26th of June, 2024.


                                  s/Bruce J. McGiverin



                                  UNITED STATES MAGISTRATE JUDGE
